Case 3:23-cv-22130-MCR-ZCB   Document 155-2   Filed 03/14/25   Page 1 of 28




             Exhibit 1
 Case 3:23-cv-22130-MCR-ZCB                  Document 155-2           Filed 03/14/25        Page 2 of 28




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 ALLIANCE LAUNDRY SYSTEMS, LLC,

                          Plaintiff,

 v.
                                                                                     Case No.: 23-22130
 TRUDY ADAMS,
 JOHN “CLAY” WILLIAMS and
 AUTARKIC HOLDINGS, INC. D/B/A
 LAUNDRYLUX

                          Defendants.


                     EXPERT DECLARATION OF MARK LANTERMAN

        1.       My name is Mark Lanterman. I am the Chief Technology Officer of

Computer Forensic Services (“CFS”) located in Minneapolis, Minnesota.1 CFS and I have

been retained as an expert witness in the above-captioned action by Husch Blackwell,

LLP on behalf of its client Alliance Laundry Systems (“Alliance”). More specifically, CFS

was asked to analyze laptop computers that were assigned to Defendants Trudy Adams

and John (Clay) Williams by Alliance and were intended for their respective job

responsibilities.

        2.       In summary, and consistent with the opinions set forth in greater detail in

this declaration, there is evidence that Defendants Adams and Williams exfiltrated




1 Exhibit A contains my curriculum vitae, including a list of cases in which I have testified in the last four

years, as well as a list of articles I have written throughout the past 10 years. CFS is compensated at rates
ranging from $425 to $625 per hour for my work, depending upon the requested task. CFS’s
compensation is not dependent upon the outcome of this case.



                                                      1
 Case 3:23-cv-22130-MCR-ZCB             Document 155-2       Filed 03/14/25    Page 3 of 28




Alliance data in two ways. First, both Defendants Adams and Williams emailed Alliance

documents to non-Alliance email addresses (e.g., personal email accounts). Second, there

is evidence to indicate that portable, external USB drives were attached to the laptop. On

Defendant Williams’ laptop, Alliance documents and files were copied to an external USB

drive.

   I.         Expert background & qualifications

         3.      Our firm specializes in the analysis of digital evidence in civil and criminal

litigation. I have over 35 years of experience in computer forensics and cybersecurity.

Prior to joining CFS, I was a sworn investigator for the United States Secret Service

Electronic Crimes Task Force and acted as its senior computer forensic analyst.

         4.      I am certified by the United States Department of Homeland Security as a

“Seized Computer Evidence Recovery Specialist,” as well as certified in computer

forensics by the National White-Collar Crime Center. Both federal and state courts have

appointed me as a neutral computer forensic analyst or special master.

         5.      I graduated from Upsala College with both a Bachelor of Science and a

Master’s degree in computer science. I completed my post graduate work in

cybersecurity at Harvard University.

         6.      I have previously served as adjunct faculty of computer science for the

University of Minnesota Technological Leadership Institute’s Master of Science and

Security Technologies program (MSST). I am a faculty member at the University of St.

Thomas School of Law in Minnesota, and for the National Judicial College in Reno,

Nevada. I have instructed members of the federal judiciary through the Federal Judicial




                                                2
 Case 3:23-cv-22130-MCR-ZCB         Document 155-2      Filed 03/14/25    Page 4 of 28




Center in Washington, D.C.

      7.     I am a member of Working Groups 1 and 11 for the Sedona Conference,

which is an institute dedicated to the advanced study of law. I serve on the Sedona

Conference’s Steering Committee on Artificial Intelligence and the Law.

      8.     I am currently appointed to the Arizona Supreme Court’s Steering

Committee on Artificial Intelligence and the Courts.

      9.     I have previously provided training or delivered keynote addresses for the

United States Supreme Court; the Eleventh Circuit Federal Judicial Conference; the

Eighth Circuit Federal Judicial Conference; the Southern District of Georgia; the Western

District of Tennessee; and several state judicial conferences. I delivered the keynote

address at the Chief Justices’ Conference in Newport, Rhode Island and at Georgetown

Law School’s advanced e-discovery conference.

      10.    I was appointed by the Minnesota Supreme Court to serve the maximum 6-

year term as a member of Minnesota’s Lawyers Professional Responsibility Board

(“LPRB”).

      11.    I am a co-author of the Minnesota State Bar’s e-Discovery Deskbook, and I

also write monthly articles for Minnesota Bench & Bar magazine.

      12.    CFS holds a corporate private detective license issued by the State of

Minnesota Board of Private Detective and Protective Agent Services (License No. 2341).

      13.    CFS was awarded a Multiple Award Schedule contract (contract

#47QTCA22D004L) for the 54151HACS (highly adaptive cybersecurity services) SIN by

the General Services Administration (GSA). GSA awarded CFS the contract after a




                                           3
 Case 3:23-cv-22130-MCR-ZCB              Document 155-2      Filed 03/14/25    Page 5 of 28




rigorous inspection and technical competence evaluation of knowledge, abilities,

competency, policies, and procedures.

         14.      CFS is the exclusive, contracted computer forensic service provider for the

Hennepin County Sheriff’s Office (the county that encompasses Minneapolis); as well as

the Metropolitan Airports Commission, also known as the Minneapolis/Saint Paul

International Airport. I am a primary point-of-contact for servicing these contracts on

behalf of CFS.

   II.         Materials considered

         15.      I am generally familiar with the factual circumstances of this action,

having reviewed the complaint. (See Dkt. 1).

         16.      On March 21, 2024, Alliance submitted two (2) laptop computers to my

office for preservation and analysis. I understand that these laptops were assigned to

Defendants Adams and Williams by Alliance, for use in connection with Defendants’

job responsibilities before they separated from Alliance.

         17.      Table 1 below summarizes the identifying information associated with

these laptops, including when the laptops were put into service/set up for use by

Defendants Adams and Williams.

 Description               Make/Model           User Profile          Serial Number
 Trudy Adams’              Lenovo ThinkPad      T.Adams               PF-38F6RE
 Alliance-issued           E15 Gen 2 laptop     (in-service: April
 laptop                                         15, 2022)
 Clay Williams             Lenovo ThinkPad      Clay                  PF-3JTQV7
 Alliance-issued           E15 Gen 2 laptop     (in-service: July 21,
 laptop                                         2022)
                                            Table 1




                                                4
 Case 3:23-cv-22130-MCR-ZCB           Document 155-2      Filed 03/14/25    Page 6 of 28




       18.      The laptops’ data was encrypted using Microsoft Bitlocker. Bitlocker is a

popular encryption software that is built-in to the Microsoft Windows operating system

and is designed to protect the integrity of the data. I coordinated with Alliance’s IT

team to obtain the information necessary to decrypt the laptops and access their data for

the purpose of preserving and analyzing them.

       19.      After obtaining the information necessary to decrypt the content of the

laptops, I created a forensic copy of the laptops’ hard drives, preserving their data and

operating system. The preservation process was necessary to conduct a complete

examination and permitted me to assemble a timeline of user activities conducted on

the laptops.

       20.      In addition to the laptop computers described above, I have also received

and reviewed certain Alliance, security-related policy documents. Those documents are:

             a. Alliance Employee Handbook (See ALSD00000200);

             b. Alliance IT Acceptable Use Policy, (See ALSD00000237);

             c. Alliance Code of Business Conduct, (See ALSD00000931).

       21.      Additionally, I have considered certain documents that were produced by

the Defendants in this action during discovery, that are identified by Bates label

designations:

             a. DEF00307-316 (representing a July 14, 2023 email from Adams to
                Williams);

             b. DEF00465-470 (representing an email forwarded by Williams to Adams).




                                              5
 Case 3:23-cv-22130-MCR-ZCB                 Document 155-2          Filed 03/14/25   Page 7 of 28




    III.         Opinion Summary

           22.      As noted above, Defendants Adams and Williams both sent emails to

personal email accounts, with Alliance file attachments, and attached USB drives to their

Alliance-issued laptops shortly before their separation from Alliance. (See supra. ¶ 2).

           23.      With respect to Defendant Adams, there is evidence that, several emails

that contained file attachments were sent between January 5, 2023 and May 19, 2023 from

Adams’ Alliance email account to a non-Alliance email account (trudy [at]

blueeggconsult [dot] com). Moreover, on May 18, 2023 (the day prior to Defendant

Adams’ separation from Alliance), a USB drive was attached to her Alliance-issued

laptop. External USB drives may be used to copy files.

           24.      With respect to Defendant Williams, thousands of files from his Alliance-

issued laptop were copied to a removable USB data storage device, two days before his

separation from Alliance. Additionally, Defendant Williams emailed Alliance files and

documents to his personal email address (jclaywilliams1 [at] gmail [dot] com).

    IV.          Defendant Adams emailed Alliance documents to a non-Alliance email
                 account.

           25.      I understand that Defendant Adams separated from Alliance on or about

May 19, 2023.2 (See Compl. ¶ 13). I have determined, based on emails that are stored on

Defendant Adams’ Alliance-issued laptop, that Defendant Adams sent Alliance

information to a non-Alliance email address (“trudy [at] blueeggconsult [dot] com”).

(See also Compl. ¶ 21).



2 On January 13, 2023, Adams received an email from LaundryLux with a file called “Trudy Adams ASM

Job Offer.pdf.” The date on the face of the document is January 5, 2023.


                                                     6
 Case 3:23-cv-22130-MCR-ZCB                 Document 155-2           Filed 03/14/25       Page 8 of 28




        26.     Microsoft Outlook is installed on Adams’ Alliance-issued laptop. Outlook

is an application (program) that is used to, among other things, send, receive, and

retrieve emails and other related information (like calendars and contacts). When

Outlook is installed on a computer and connected to an email account, Outlook will

save emails in specific container files. These container files are called “OSTs” and

“PSTs.”3 I have identified an OST file associated with data from Adams’ Alliance email

accounts.

        27.     Based on the content of these email container files, between January 5,

2023 and May 19, 2023, Adams sent or received at least 37 emails from her Alliance-

issued email account to trudy [at] blueeggconsult [dot] com. The majority of these

emails had one or more file attachments.

        28.     I note that of these emails, 18 emails were deleted from Adams’ Alliance

email account.

        29.     I have previously provided a copy of these emails to Alliance’s counsel.

These emails are incorporated by reference. Moreover, I have attached as Exhibit B to

this declaration, a listing of the emails, including the names of specific file attachments.

        30.     As an example, and as may be observed in Exhibit B, there is a deleted

email dated March 27, 2023 with the subject line “All” that was sent from Adams’

Alliance email account to the “@blueeggconsult” email address. The email contained a




3 OST is an acronym for “offline storage table” and is used by Outlook as a container for emails, and other

related data. Such files’ primary purpose is to allow offline access and synchronization of email data.
Similarly, PST is an acronym for “personal storage table.” Like OST files, PST files are designed to store
data from email accounts connected to Outlook.



                                                     7
 Case 3:23-cv-22130-MCR-ZCB                  Document 155-2           Filed 03/14/25        Page 9 of 28




file attachment called “All Contacts-2023-03-27-20-10-23.xlsx.” This document is a

spreadsheet listing contact and account information for 1,234 contacts and was saved to

Adams’ Alliance-issued laptop on March 27, 2023 prior to having been sent. This file is

consistent with having been exported from Alliance’s client record management

system.4

         31.      As another example, on May 18, 2023 (the day prior to Adams’ separation

from Alliance), another deleted email with the subject line “FW: CORRECTED Quote,

Drawings, Bulkhead Quote, Trough - 9410 University Drawing” was sent from Adams’

Alliance email account to the “@blueeggconsult.com” account. This email contains four

(4) file attachments, which appear to constitute drawings, project information and cost

quotes (dated February 10, 2023) for a specific project/customer of Alliance.5

         32.      I have not been provided access to the content of the email account to

which the emails listed in Exhibit B were sent (“trudy [at] blueeggconsult [dot] com”). I

respectfully request access to this account to determine the full scope of Alliance files

that were transmitted to or from that account.

    V.         Defendant Adams attached a USB drive to her Alliance laptop on May 18,
               2023.

         33.      After preserving the device’s data, I analyzed the laptop for activity

consistent with the access or copying of files to sources extrinsic to the laptop (e.g., USB

data storage devices).



4 Similarly, on April 20, 2023, a substantially similar file called “All Contacts-2023-04-20-11-43-38.xlsx,”

containing 1,271 contacts was email from Adams’ Alliance email account to the “@blueeggconsult”
account.
5 I note that I reasonably believe that this is a contact or customer of Alliance because the quote is written

on Alliance letterhead.


                                                       8
Case 3:23-cv-22130-MCR-ZCB             Document 155-2      Filed 03/14/25   Page 10 of 28




         34.      When USB drives are attached to a computer, the Windows operating

system records: 1) the last time when a device was attached or plugged in, and, if

available, 2) the make/model of the device attached, and 3) its serial number. Windows

records this information so that if/when the device is subsequently attached, the device

is more quickly recognized. Moreover, it is important to understand the Windows

operating system, generally, does not keep a record or log of all files stored on an

external USB data storage device when the device is simply connected to a computer.

         35.      Here, I have determined that the day prior to her separation from

Alliance, on May 18, 2023 at approximately 5:48 PM (Central), Adams attached a

SanDisk Cruzer USB drive to her Alliance-issued laptop. Based on the information

available from Adams’ Alliance-issued laptop, there is not sufficient information to

determine whether and what files were copied to it at that time. For this reason, I

respectfully request access to this USB drive for the purposes of determining whether

files were copied to it on May 18, 2023 from Alliance.

   VI.         Defendant Williams sent Alliance files to a personal email account.

         36.      I understand that Defendant Williams separated from Alliance on July 13,

2023—approximately two months after Defendant Adams.

         37.      Like Defendant Adams, Defendant Williams’ Alliance-issued laptop also

contains email data, indicating that Williams sent emails from his Alliance email

account, and containing attachments, to a personal email address.

         38.      Table 2 below is intended to summarize information about these sent

emails. I note that all of the emails listed in Table 2 were deleted.




                                               9
 Case 3:23-cv-22130-MCR-ZCB              Document 155-2          Filed 03/14/25      Page 11 of 28




       39.     A complete listing of these emails, including the names of attached files, is

incorporated at Exhibit C to this declaration.




6 I note that this email was later forwarded by Williams to Adams’ LaundryLux email address. (See

DEF000465).


                                                  10
Case 3:23-cv-22130-MCR-ZCB            Document 155-2     Filed 03/14/25    Page 12 of 28




   VII.      Defendant Williams copied files from his Alliance laptop to a USB drive.

       41.      On July 10, 2023 at approximately 10:32 AM (Central), Williams accessed

his Google email account online (jclaywilliams1 [at] gmail [dot] com). After accessing

this email account, Williams reviewed the content of an email bearing the subject line

“FW: Trudy List.” Because the email was accessed online, the body of the email, the

identity of who/what address sent the email, any attachments, and the dates that it was

sent are not available from Williams’ Alliance-issued laptop.

       42.      At 12:30:35 PM (Central) on July 10, 2023, about two hours after the “FW:

Trudy List” email was accessed, a USB drive was attached to Williams’ Alliance-issued

laptop.

       43.      As noted above, Windows records information sufficient to identify when

USB drives are attached to a computer. (See supra. ¶ 34). Microsoft Windows may also

be configured to track the “accessed” time of files. This time records when an

application or service last interacts with a file or folder. When a USB device is attached

and files are copied to it, Windows may update the last accessed time of the files that

are copied. This feature was enabled on Williams’ Alliance laptop.

       44.      Within seconds after the USB drive was connected, beginning at

approximately 12:30 PM and ending at 12:53 PM, a total of 3,713 files that are stored on

Williams’ Alliance laptop, were accessed. The files were accessed in rapid succession,

which is, when considering the attached external USB drive, indicative that those files

and their contents were copied from Williams’ Alliance laptop to the USB drive.




                                             11
Case 3:23-cv-22130-MCR-ZCB           Document 155-2        Filed 03/14/25     Page 13 of 28




       45.    I have attached as Exhibit D to this declaration, a listing of the files that

were copied to external, portable media. As can be observed in Exhibit D, the majority

of files originated from the following folder on Williams’ Alliance laptop:

“\Users\Clay\Clec\Clec Distribution Shared Data - Documents\Clay Williams\.”

       46.    Because the USB drive that was attached to Williams’ Alliance-issued

laptop on July 10, 2023 has not been provided to me for analysis, it is not possible to

precisely establish the scope, nature, and volume of the copied data.

       47.    I respectfully reserve the right to supplement or amend this declaration

should additional information be made available, or if additional details are requested.



I declare under penalty of perjury under the law of the United States that the foregoing

is true and correct.


Executed on: June 21, 2024 in Hennepin County, Minnesota.




                                           ___________________________________
                                           Mark Lanterman




                                             12
Case 3:23-cv-22130-MCR-ZCB   Document 155-2   Filed 03/14/25   Page 14 of 28




                               EXHIBIT
                               EXHIBIT A
                                       A
        Case 3:23-cv-22130-MCR-ZCB               Document 155-2          Filed 03/14/25       Page 15 of 28




        Mark Lanterman
        Chief Technology Officer

                               Professional Biography
Office
                               Mark has over 30 years of experience in digital forensics, e-discovery, and has
800 Hennepin Avenue
                               provided education and training to a variety of audiences. Prior to founding
5th Floor
                               Computer Forensic Services in 1998, Mark was a sworn investigator with the
Minneapolis, MN 55403
                               United States Secret Service Electronic Crimes Task Force. Both federal and state
                               court judges have appointed Mark as a neutral computer forensic analyst.
Phone
(952) 924-9220                 Mark was appointed by the Minnesota Supreme Court for two consecutive three-
                               year terms as a member of the Minnesota Lawyers Professional Responsibility
Fax                            Board, during which he also actively contributed to its Rules & Opinion
(952)924-9921                  Committee.

Email                          Mark frequently provides training within the legal community, including
mlanterman@compforensics.com   presentations for the United States Supreme Court, Georgetown Law School, the
                               11th Circuit Federal Judicial Conference, the 8th Circuit Federal Judicial
Web                            Conference, the American Bar Association, the Federal Bar Association, the
www.compforensics.com
                               Sedona Conference, and the Department of Homeland Security, among others.

                               Mark has provided training for federal judiciary members via the Federal
                               Judicial Center in Washington, D.C. Additionally, he serves as faculty at the
                               National Judicial College. Mark is a professor in cybersecurity at the Saint
                               Thomas School of Law. Mark is a member of the Sedona Conference Working
                               Groups 1 and 11, where he is recognized as a “dialogue leader” on the judicial
                               branch’s adoption of Artificial Intelligence. Further, Mark was appointed by the
                               Arizona Supreme Court to its judicial steering committee for the implementation
                               of Artificial Intelligence.

                               Education and Certifications
                               Upsala College – B.S. Computer Science; M.S. Computer Science

                               Harvard University – Cybersecurity

                               Department of Homeland Security – Federal Law Enforcement Training Center
                               Seized Computer Evidence Recovery Specialist

                               National White-Collar Crime Center – Advanced Computer Forensics

                               Publications
                               Co-author of the E-Discovery and Forensic Desk Book

                               Regular columnist for Bench & Bar magazine
   Case 3:23-cv-22130-MCR-ZCB            Document 155-2        Filed 03/14/25      Page 16 of 28




                 Previous Testimony List – Mark Lanterman

   •   State v. Eric Smith, 50-CR-23-2421, (Mower Co., Minn.)
   •   Ranning v. SBS Transportation, Inc. et al., 62-CV-23-400, (Ramsey Co.,
       Minn)
   •   North American Science Associates, LLC v. Conforti, et al., 24-CV-00287
       (D. Minn.)
   •   Plus One, LLC v. Capital Relocation Services LLC, 23-CV-2016, (D. Minn.)
   •   Raymond James & Associates, Inc. et al. v. Piper Sandler et al., 2:23-CV-
       02644 (W.D. Tenn.)
   •   Griffin v. Johnson & Johnson et al., 21-CV-00134, (D. Vermont)
   •   Piper Sandler Companies v. Gonzalez, 23-CV-2281 (D. Minn.)
   •   State v. James Nyonteh, 27-CR-22-5940 (Henn. Co., Minn)
   •   State v. Zhaaboshkang Bush, 04-CR-22-2661 (Beltrami Co., Minn)
   •   Lauren Ellison v. JM Trucking, et al., 2023CI16452 (Bexar Co., Texas)
   •   State v. Gary Otero, 52-CR-23-57 (Nicollet Co., Minn.)
   •   Mayo Foundation for Medical Education & Research v. Knowledge to
       Practice, Inc., 21-CV-1039 (D. Minn.)
   •   Wilbur-Ellis Company LLC v. J.R. Simplot et al. (D. South Dakota)
   •   Universal Power Marketing, et al. v. Sara Rose, 82-CV.20-2812 (Henn.
       Co., Minn.)
   •   TCIC, Inc. v. True North Controls, LLC, et al., 27-CV-22-3774 (Henn. Co.
       Minn.)
   •   MHL Custom, Inc. v. Waydoo USA, Inc, et al., 21-CV-0091 (D. Delaware)
   •   Tumey LLP, et al. v. Mycroft, Inc., et al., 4:21-CV-00113 (W.D. Mo.)
   •   A’layah Le’vaye Horton v. Greenway Equipment Co., Inc. et al., 20MI-
       CV00562 (Miss. Co., Missouri)
   •   In the Marriage of: Beals and Beals, 12-FA-21-235 (Chippewa Co., Minn.)
   •   Warren, et al. v. ACOVA, Inc., et al., 27-CV-18-3944, (Henn. Co., Minn.)
   •   Hagen v. Your Home Improvement, LLC, et al., 73-cv-21-2067, (Sterns Co.
       Minn.)
   •   State of Minnesota v. Raku Sushi & Lounge Inc., 27-CR-21-8730, (Henn.
       Co., Minn.)
   •   Jane Doe, et al. v. Independent School District 31, 20-CV-00226, (D.
       Minn.)



800 HENNEPIN AVE., FIFTH FLOOR MINNNEAPOLIS, MN 55403
T 952-924-9920 U WWW.COMPFORENSICS.COM
    Case 3:23-cv-22130-MCR-ZCB             Document 155-2         Filed 03/14/25       Page 17 of 28




    •   Galan v. Munoz, et al., 2019-CI-19143, (Bexar Co., Texas)
    •   Vision Industries Group, Inc. v. ACU Plasmold, Inc., et al., 2:18-CV-6296,
        (D. N.J)
    •   Troutman v. Great American Hospitality, LLC, 19-CV-878, (Stanley Co., N.
        Carolina)
    •   Baxter Insurance Group of Agents, et al. v. Woitalla et al., 27-CV-20-
        16685, (Henn. Co. Minn.)
    •   Sweigart v. Patten, et al., 5:21-cv-00922, (U.S. Dist Ct. E.D. Penn.)
    •   Sarah Hoops v. Solution Design Group, Inc., 27-CV-20-11207, (Henn. Co.
        Minn.)
    •   Stephanie Ramos v. Lazy J Transport, et al., 2018CI21594, (Dist Ct. Bexar
        Co., Texas)
    •   Schwan’s Company, et al. v. Rongxuan Cai, et al., 0:20-SC-2157, (U.S.
        Dist. Ct. Minn.)
    •   Michael D. Tewksbury, as Guardian ad Litem for Miles Chacha and Lulu
        Kerubo Simba v. PODS Enterprises, LLC, et al., 62-CV-20-4209, (Ramsey
        Co., Minn.)
    •   RG Golf v. The Golf Warehouse, 19-CV-00585 (U.S. Dist. Ct. Minn.)
    •   Dunn v. PSD LLC, et al., 02-CV-20-4504, (Anoka Co., Minn.)
    •   Chambers, et al. v. B&T Express, et al., 19-CI-00790, (Franklin Cir. Ct. Ky.
        2d Div.)
    •   Natco Pharma Ltd. V. John Doe, 21-cv-00396-ECT-BRT, (U.S. Dist. Ct.
        Minn.)
    •   Kimberly Clark, et al. v. Extrusion Group, et al., 1:18-cv-04754-SDG, (U.S.
        Dist. Ct. N.D. Ga.)
    •   PalatiumCare Inc. v. Notify, LLC, et al., 2021-cv-000120, (Sheboygan Co.,
        Wis.)
    •   State of Nebraska v. Jeffrey Nelson, CR21-19, (Saunders Co., Nebraska)
    •   Lutzke v. Met Council, 27-CV-19-14453, (Henn. Co. Minn.)
    •   Rivera et al., v. Hydroline, et al., DC-19-143, (Dist. Ct. Duval Co, Texas).
    •   Coleman & Hartman, et al. v. iAMg, et al., 16CV317, (Cir. Ct. Polk Co
        Wis.)
    •   Mixon v. UPS, et al., 2019-CI-13752, (Dist Ct. Bexar Co., Texas)
    •   Goodman v. Goodman, 27-DA-FA-21-672, (Henn. Co. Minn.)
    •   Shaka v. Solar Partnership, 27-CV-20-12474, (Henn. Co. Minn.)
    •   Patel Engineering Ltd. V. The Republic of Mozambique, UNCITRAL PCA:
        2020-21.
    •   Estate of Rima Abbas v. ABDCO, (19-CI-1315), (Fayerette Cir. Ct. Ky. 4th
        Div.)



2
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2         Filed 03/14/25       Page 18 of 28




    •   State of Nebraska v. Jeffrey Nelson, CR21-19, (Saunders Co., Nebraska)
    •   Riccy Mabel Enriquez-Perdomo v. Richard A. Newman, et al., 3:18-CV-
        549, (U.S. W.D. Kentucky)
    •   United States v. Alakom-Zed Crayne Pobre, PX-19-348, (U.S. Dist.
        Maryland)
    •   Lewis v. Northfield Savings Bank, et al., 295-5-19-WNCV, (Vermont, Sup.
        Ct., Washington Div.)
    •   State of Minnesota v. Thomas James Crowson, 13-CR-20-325, (Chisago
        Co., Minn.)
    •   Vimala et al., v. Wells Fargo, et al., 3:19-CV-0513, (U.S. M.D. Tenn.)
    •   In re: Estate of Anthony Mesiti, 318-2017-ET-00340, N.H. 6th Cir.
        Probate Division.
    •   Ernie’s Empire, LLC, et al. v. Burrito & Burger, Inc., et al., 82-CV-20-28,
        (Wash. Co., Minn.)
    •   Sol Brandys v. Wildamere Capital Management LLC, Case No.: 27-CV-18-
        10822, (Henn. Co., Minn.)
    •   State of Minnesota v. Yildirim, 27-CR-19-7125, (Henn. Co., Minn.)
    •   Jabil v. Essentium, et al., 8:19-cv-1567-T-23SPF, (M.D. Fla.)
    •   Lifetouch National School Studios Inc. v. Walsworth Publishing Company,
        et al., (U.S. Dist. Conn.)
    •   Motion Tech Automation, LLC v. Frank Pinex, Case No.: 82-CV-18-5202,
        (Wash. Co., Minn.)
    •   Lundin v. Castillo, et al., Case No.: 2019-CV-000452, (Walworth Co., Wis.)
    •   Yun v. Szarejko-Gnoinska, et al., 27-PA-FA-13-967, (Henn. Co., Minn.)
    •   Jonas Hans v. Belen Fleming, Case No.: 27-PA-FA-13-967, (Henn. Co.,
        Minn.)
    •   Daniel Hall, et al. v. Harry Sargeant III, 18-cv-80748, (S.D. Fl.)
    •   Miller v. Holbert, et al., Case No.: 48-CV-15-2178, (Mille Lacs Co., Minn.)
    •   Strohn, et al. v. Northern States Power Company, et al., 18-cv-1826, (U.S.
        Dist. Ct. Minn.)
    •   Stamper, et al. v. Highlands Regional Medical Center, Case Nos.: 11-CI-
        1134 & 12-CI-00468, (Commonwealth of Kentucky, Floyd Cir. Co., Div. I).
    •   Patterson Dental Supply, Inc. v. Daniele Pace, Case No.: 19-cv-01940-JNE-
        LIB, (U.S. Dist. Ct. Minn.)
    •   Ryan Rock v. Jonathan Sargent and The Sargent Group, Inc. d/b/a Todd &
        Sargent, Inc., LACV050708, (Story Co., Iowa)
    •   Oscar Alpizar v. Eazy Trans, LLC, et al., 2018CI00878, (Bexar Co., Texas)
    •   MatrixCare v. Netsmart, Case No.: 19-cv-1684, (D. Minn.)




3
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2         Filed 03/14/25       Page 19 of 28




    •   State of Minnesota v. Nathan Roth, Case No.: 80-CR-18-1007, (Wadena
        Co., Minn.)
    •   Parisi v. Wright, Case No.: 27-CV-18-5381, (Henn. Co., Minn.).
    •   Lloyd C. Peeoples, III v. Carolina Container, LLC, 4:19-cv-00021 (N.D.
        Georgia)
    •   Sandra Wolford, et al. v. Bayer Corp., et al., 16-CI-907, 17-CI-2299, Pike
        Cir. Ct. Div. I, Kentucky)
    •   BuildingReports.com, Inc. v. Honeywell International, Inc., Case No.: 1:17-
        cv-03140-SCJ, (N.D. Ga.)
    •   Evan D. Robert and Dr. Kerry B. Ace v. Lake Street Cafeteria, LLC, et al.,
        Case No: 27-CV-17-18040, (Henn. Co., Minn.)
    •   State of Minnesota v. Andrew Seeley, 14-CR-17-4658, (Clay Co., Minn)
    •   State of Minnesota v. Stephen Allwine, 82-CR-17-242, (Wash. Co., Minn.)




4
   Case 3:23-cv-22130-MCR-ZCB             Document 155-2       Filed 03/14/25       Page 20 of 28




                   Publications List – Mark Lanterman

Bench & Bar of Minnesota

Ransomware and federal sanctions, January/February 2024

Biden issues ambitious executive order on AI, December 2023

The CSRB weighs the lessons of Lapsus$, November 2023

Deepfakes, AI, and digital evidence, October 2023

Protecting our judges, September 2023

CISO Beware: Cyber accountability is changing, August 2023

ChatGPT: The human element, July 2023

This article is human-written: ChatGPT and navigating AI, May/June 2023

The shifting emphasis of U.S. cybersecurity, April 2023

Gloves off: The upcoming national cybersecurity strategy, March 2023

Thinking about the future of cyber insurance, January/February 2023

Ransomware and counteracting the interconnected risks of the IoT, December
2022

Executive Order 22-20 and Minnesota’s growing cybercrime rates, November
2022

Social engineering or computer fraud? In cyber insurance, the difference matters,
October 2022




PENCE BUILDING, 800 HENNEPIN AVENUE, 5TH FLOOR, MINNEAPOLIS, MN 55403
T 952-924-9920 U WWW.COMPFORENSICS.COM
    Case 3:23-cv-22130-MCR-ZCB             Document 155-2         Filed 03/14/25    Page 21 of 28




The Cyber Safety Review Board’s first report and the impact of Log4j, September
2022

What critical infrastructure efforts can teach us about cyber resilience, August
2022

How the American Choice and Innovation Online Act may affect cybersecurity,
July 2022

Smishing attacks and the human element, May/June 2022

Still on the defensive, More on the Missouri website vulnerability investigation,
April 2022

What we can already learn from the Cyber Safety Review Board, March 2022

The Log4j vulnerability is rocking the cybersecurity world. Here’s why.,
January/February 2022

On the defensive: Responding to security suggestions, December 2021

Go fish? Proportionality revisited, November 2021

Mailbag: Cybersecurity Q+A, October 2021

The NSA advisory on brute force attacks, September 2021

Security is a team game, August 2021

Improving national cybersecurity, July 2021

Apple’s new iOS strikes a blow for data privacy, May/June 2021

Geofence warrants, The battle is just beginning, April 2021

Ransomware and federal sanctions, March 2021

The SolarWinds breach and third-party vendor security, February 2021

Considerations in cloud security, January 2021



2
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2         Filed 03/14/25   Page 22 of 28




Deciding when to use technology-assisted review, December 2020

How to avoid an old scam with a new twist, November 2020

Your back-to-school tech brush-up, October 2020

The Twitter breach and the dangers of social engineering, September 2020

Cyber risk: Is your data retention policy helping or hurting?, August 2020

Cyber riots and hacktivism, July 2020

Working from home and protecting client data, May/June 2020

Cybersecurity in pandemic times, April 2020

Business continuity and coronavirus planning, March 2020

Doxxing made easy: social media, March 2020

Taking responsibility for your cybersecurity, February 2020

Beyond compliance: Effective security training, January 2020

Doxxing redux: The trouble with opting out, December 2019

Proportionality and digital evidence, November 2019

AI and its impact on law firm cybersecurity, October 2019

Too secure? Encryption and law enforcement, September 2019

Security, convenience and medical devices, August 2019

Physical security should be part of your incident response plan, July 2019

“Papers and effects” in a digital age, pt II, May/June 2019

Security considerations for law firm data governance, April 2019



3
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2         Filed 03/14/25   Page 23 of 28




Third-party vendors and risk management, March 2019

The Marriott breach: four years?, February 2019

“Papers and effects” in a digital age, co-authored with Judge (Ret.) Rosenbaum,
January 2019 (Republished in The Computer & Internet Lawyer)

The Chinese spy chip scandal and supply chain security, December 2018
(Republished in The Computer & Internet Lawyer)

Don’t forget the inside threat, November 2018

Cyberattacks and the costs of reputational harm, October 2018

Fair elections and cybersecurity, September 2018

E-discovery vs. forensics: Analyzing digital evidence, August 2018

Social media and managing reputational risk, July 2018

Managing Cyber Risk: Is cyber liability insurance important for law firms?,
May/June 2018 (Republished in The Computer & Internet Lawyer)

Social engineering: How cybercriminals capitalize on urgency, April 2018

Stephen Allwine: When crime tries to cover its digital tracks, March 2018

Is the Internet of Things spying on you?, February 2018

#UberFail, January 2018

Ransomware: To pay or not to pay?, December 2017

How digital evidence supported gerrymandering claims, November 2017

Facial recognition technology brings security & privacy concerns, October 2017

Putting communication and clients first in digital forensic analysis, September
2017



4
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2           Filed 03/14/25   Page 24 of 28




Digital evidence: New authentication standards coming, August 2017

Your Personal Data – Or is it? Doxxing and online information resellers pose
threats to the legal community, May/June 2017

What You Don’t Know Can Hurt You: Computer Security for Lawyers, March 2014

Minnesota Lawyer

Phishing, vishing and smishing – oh, my!, January 2018

Equifax was unprepared for a data breach, September 2017

Cybersecurity and forensic application in cars, July 2017

Preventing ‘spear-phishing’ cyber attacks, May 2017

Opting out when private information goes public, March 2017

Are fingerprints keys or combinations?, February 2017

Digital Forensics and its role in data protection, February 2017

Acknowledge the security issues, December 2016

Modern life is driven by the internet of things, November 2016

Are medical devices vulnerable to hackers?, October 2016

Digital evidence as today’s DNA, September 2016

Colorado Lawyer

Is Emailing Confidential Information a Safe Practice for Attorneys?, July 2018
(Republished in The Journals & Law Reviews database on WESTLAW)




5
    Case 3:23-cv-22130-MCR-ZCB           Document 155-2          Filed 03/14/25   Page 25 of 28




International Risk Management Institute, Inc. (IRMI)

Considerations on AI and Insurance, December 2023

Data Retention Policies as Proactive Breach Mitigation, October 2023

Cyber-Risk Management in the Age of ChatGPT, June 2023

Cyber-Security Considerations for Employee Departures, April 2023

Cyber Safety Review Board on Lapsus$, December 2022

Apple Vulnerabilities and Staying Apprised of Current Cyber Threats, September
2022

Evolving Threats? Assess and Update Security Measures, June 2022

Cyber Security and the Russian Invasion of Ukraine, April 2022

Thoughts on the FBI Email Compromise—and Lessons Learned, January 2022

Ransomware, National Cyber Security, and the Private Sector, October 2021

Standardization Matters in Establishing a Strong Security Posture, June 2021

Third-Party Vendor Risk Management, March 2021

The Importance of (Remote) Security Culture in Mitigating Risks, December 2020

Security from Home: Continuing to Work and Learn Amid COVID-19, September
2020

Operational Risk Revisited in the Wake of COVID-19, June 2020

Cyber Threats and Accounting for Operational Risk, March 2020

Human Aspect of Incident Response Investigations, January 2020

The Impact of Digital Incompetency on Cyber-Security Initiatives, September
2019



6
    Case 3:23-cv-22130-MCR-ZCB            Document 155-2        Filed 03/14/25      Page 26 of 28




Communication in Responding to Cyber Attacks and Data Breaches, June 2019

Cyber Security and Resilience, January 2019

Leadership in Developing Cultures of Security, September 2018

Real-Life Consequences in a Digital World: The Role of Social Media, July 2018

Some Thoughts on the Dark Web—and How it Affects You, March 2018

Personal Information and Social Media: What Not to Post, September 2017

Managing Doxxing-Related Cyber Threats, July 2017

Understand the Layers of Cyber-Security and What Data Needs Protecting,
March 2017

Learn about the Internet of Things: Connectivity, Data, and Privacy, January 2017

Assessing Risk and Cyber-Security, September 2016

SCCE The Compliance & Ethics Blog

The Components of Strong Cybersecurity Plans: Parts 1-5, 2017

Prevention Is the Best Medicine, August 2016

Lawyerist

Detection: The Middle Layer of Cybersecurity, April 2017

Don’t Be Too Hasty! What to Do When an Email Prompts You to Act Quickly,
February 2017

How to Avoid Spoofing, Spear Phishing, and Social Engineering Attacks, October
2016

Law Practice




7
    Case 3:23-cv-22130-MCR-ZCB             Document 155-2      Filed 03/14/25   Page 27 of 28




The Dark Web, Cybersecurity and the Legal Community, July/August 2020

Captive International

COVID-19 and the importance of the cyber captive, April 2020

Attorney at Law Magazine

The Digital Challenges of COVID-19, June 2020

E-Discovery Deskbook

Chapter Thirteen “Forensic Experts—When and How to Leverage the Talent” co-
authored with John M. Degan Briggs and Morgan, P.A.

The Complete Compliance and Ethics Manual 2022

Cybervigilance in Establishing Security Cultures




8
Case 3:23-cv-22130-MCR-ZCB   Document 155-2   Filed 03/14/25   Page 28 of 28




    Exhibits B-D
    Withheld and Filed
       Under Seal
